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Case 2'04-Cr-20387-BBD Document 75 Fl|ed 08/09/05 Page 1 of 2 Page|D 8

IN THE UNITED sTATEs DIsTRICT conRT F"‘ED BY '“% °'°'
FoR THE wEsTERN DrsTchT oF TENNESSEE 05
Western Division ‘ AUG "9 PH 33 55
WMAS M. GOULD
UNITED sTATEs or AMERICA, C!£HK, U.S D€STH:CT
wm cf mass
Plaimiff,
vs. Case No. 2:04cr20387-D
Chermika McMillan

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refilnd of the cash appearance bond.
lt now appears that the defendant has complied With the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,
payable to Orthal Stone at 7751 Parkmont Dr., Memphis, TN 38125 in full refund of the cash

appearance bond posted herein.

 

Date: f 157 'G'..\/
Approved.
Thomas M. Gould, Clerk of Court

BY; QM&M/¢j/

Depd€y Clé'rk

Thls document entered on the docket ah 0 §§

With Fiu|e 55 and/or 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
case 2:04-CR-203 87 Was distributed by faX, mail, or direct printing on
August 1], 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

